Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 1of 22

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

SAMUEL ROSARIO BELTRAN, his wife ANA H. Civil No.
COIRA SALGADO and the Conjugal Partnership
constituted between them; THE ESTATE OF
CARLOS LICO ROSARIO BELTRAN, comprised |
by its heirs CARLA MICHELLE ROSARIO
PEREZ, CARLOS MANUEL ROSARIO PEREZ
and MANUEL ALFREDO ROSARIO PEREZ,

Plaintiffs

JURY TRIAL REQUESTED
Vv.

UNITED STATES OF AMERICA
(Agency: United States Coast Guard),

Defendant

COMPLAINT
TO THE HONORABLE COURT:

COME NOW plaintiffs SAMUEL ROSARIO BELTRAN, his wife ANA H. COIRA
SALGADO and the Conjugal Partnership constituted between them; THE ESTATE OF
CARLOS LICO ROSARIO BELTRAN, comprised by its heirs CARLA MICHELLE
ROSARIO PEREZ, CARLOS MANUEL ROSARIO PEREZ and MANUEL ALFREDO
ROSARIO PEREZ, through their undersigned attorneys and respectfully state and pray
as follows:

I INTRODUCTION
1.1 Plaintiffs bring this action against Defendant United States of America to

recover damages for the injuries and wrongful death suffered as a result of the United
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 2 of 22

States Coast Guard’s agents and employees negligence that resulted in a collision
between the CGC WINSLOW GRIESSER, a Sentinel Class 154-foot Fast Response
Cutter, with the DESAKATA, a 23 foot in-length center console vessel, on August 8,
2022, approximately four (4) nautical miles north of Dorado, Puerto Rico.

1.2 As a direct result of said collision, Mr. Carlos Lico Rosario Beltran died
and Mr. Samuel Rosario Beltran suffered significant physical and emotional damages.

Ul. JURISDICTION

2.1 Subject matter jurisdiction lies in this Court under 28 U.S.C. § 1333 and
the Public Vessels Act, 46 U.S.C. §§ 31101 et seq.

2.2 In the alternative, should the Court conclude that, Suits in Admiralty Act
(SAA), 46 U.S.C. §§ 30901 et seg. or the Federal Tort Claims Act, 28 U.S.C. §§
1346(b), 2671-2680, applies, the Court has subject matter jurisdiction pursuant to those
Acts as well.

li. VENUE AND CLAIM PREREQUISITE

3.1. Venue is proper in the District of Puerto Rico because this district is where
Plaintiffs reside and where the events or omissions giving rise to the claim occurred. 28
U.S.C, § 1391(b); 46 U.S.C. § 30906.

3.2 While neither the Suits in Public Vessels Act, 46 U.S.C. §§ 31101 et. seq.,
nor in the Admiralty Act, 46 U.S.C. §§30901 et seq., expressly require Plaintiffs to
provide administrative notice to the United States Coast Guard, Plaintiffs presented an
administrative claim to the United States Coast Guard. In abundance of caution, on
September 8, 2023. Plaintiffs submitted, via certified mail, notice of their claims against

the United States Coast Guard under the facts addressed below, using Standard Form
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 3 of 22

95. A true and correct copy of Plaintiffs’ letter, which includes the Standard Form 95
administrative claim form, is attached to this Complaint and marked as “Exhibit A.” A
copy of the Coast Guard's written de facto denia! of Plaintiffs’ claims is attached to this
Complaint and marked as “Exhibit B.”

IV. PARTIES

4.1 Plaintiff, Samuei Beltran Rosario, is of legal age, married to co-plaintiff
Ana H. Coira Salgado, licensed Commercial Fisherman and resident of Vega Alta,
Puerto Rico.

4.2 Ana H. Coira Salgado is of legal age, married to co-plaintiff Samuel
Rosario Beltran, employee and resident of Vega Alta, Puerto Rico.

4.3 Carla Michelle Rosario Pérez, Carlos Manuel Rosario Pérez and Manuel
Alfredo Rosario Pérez are all of legal age, residents of Vega Alta, Puerto Rico and only
heirs of Carlos Lico Rosario Beltran, who was killed in the collision subject of this
litigation.

4.4 The United States Coast Guard is an agency of the United States
Department of Homeland Security, and thus, is an agency of the United States of
America.

4.5 The officers and agents of the Coast Guard mentioned herein are all
agents of the United States Department of Homeland Security.

Vv. FACTS

5.1 On August 8, 2022 Plaintiff, Samuel Rosario Beltran, was on board and

the Operator of the Desakata, a 1977 23 foot in-length Robaio Center Console (See

Figure 1), along with crew member and brother, Carlos Lico Rosario Beltran, while
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 4of 22

transiting northbound, trolling and doing commercial fishing at approximately four (4)
nautical miles north of Dorado, Puerto Rico. Samuel Rosario Beltran was the owner of

the boat.

i ee

Figure 1 Center-console boat Des

5.2 At all times material, the Desakafa was, previous to the collision
hereinafter described, tight, staunch, strong and seaworthy, and properly manned and
equipped for a vessel of its size.

5.3 The CGC Winslow Griesser, a Sentinel Class 154-foot Fast Response
Cutter (See Figure 2), was identified to support an operation whereby two Dominican
Republic Navy Shipriders would embark on a U.S. Coast Guard asset on August 8,
2022 at 1600 in Punta Cana, Dominican Republic, The transit distance from San Juan,

PR to Punta Cana, DR is approximately 150 nautical miles.
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page5of 22

——

ey ‘ ee
oat it RLY E ees “Set ReEEy ‘ire
Lg. ao on —-—— oo - a: =a

q oP es teen nee hi _
U.8. COAST Guannu

a?

Figure 2. US Coast Guard cutter Winslow Griesser. id. —

5.4 At all relevant times Lt. Cmdr. Benjamin Williamsz was the Commanding
Officer (C.O.) of the CGC Winslow Griesser.

5.5 The CGC Winslow Griesser was scheduled to get underway from Coast
Guard Base San Juan, Puerto Rico at 0830 on August 8, 2022 but the trip was delayed
due to a loss of pressure in the propulsion engine-cooling seawater system. The cutter
finaily got underway on a westerly course at approximately 1305, and after clearing the
shoal water, on the west side of the San Juan Harbor approach, the bridge team altered
the cutter's course to a northwesterly direction and increased speed from 15 to 29
knots. At 1406, the bridge team again altered the cutter's course to port, closer to a
westerly course. The Winslow Griesser was running behind schedule.

5.6 On that same day, the center-console boat Desakata left Cerro Gordo,
Vega Alta, Puerto Rico about 0930 and headed northeasterly toward a fish aggregating
device (FAD) buoy 7.4 miles north of the coastline (See Figure 3). After departing Cerro
Gordo, following the coast, then turning north, the Desakata slowly proceeded north

while trolling for fish with four lines in the water.
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 6 of 22

é
: ’ ie
N
—
Atlantic Ocean 0 4nm
® FAD buoys
A
Desakata
Cerro A
Soe > ¢ Dorado
O San Juan

Oo

Figure 3. Area where the Winslow Griesser and Desakata collided, as indicated
by a red X. The Desakata's trackline is approximate. Id.

5./ Co-plaintiff Samuel Rosario Beltran operated the Desakata from the
center console as the boat headed toward the FAD buoy, making about 5 knots with the
seas on the starboard beam. The coastal weather forecast issued at 1106 called for 15-
to 20-knot easterly winds and 4 to 6-foot seas.

5.8 At approximately 1417 on said day the CGC Wins/ow Griesser collided
with the Desakata (See Figure 3 above), approximately four nautical miles north of
Dorado, Puerto Rico. As a direct result of said collision Mr. Carlos Lico Rosario Beltran
was fatally injured and Mr. Samuel Rosario Beltran was seriously injured. The

Desakata, valued at $58,800.00, was a total loss. (See Figure 4).
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 7 of 22

Figure 4. The Desakata's bow section adrift immediately after the collision. id i
5.9 The CGC Winslow Griesser failed to maintain a proper lookout as required
by Rule 5 of the Convention on the International Regulations for Preventing Collisions at
Sea, 1972 COLREGs / USCG Navigation Rules, 33 CFR § 83.05, that would have
enabled the cutter crew, under the existing conditions, to visually see the Desakata in
time to avoid collision.

5.10 Said Rule 5 states that “[e]very vessel shall at all times maintain a proper
look-out by sight and hearing as well as by all available means appropriate in the
prevailing circumstances and conditions so as to make a full appraisal of the situation
and of the risk of collision.”

5.11 The Winslow Griesser was outfitted with two radars, a Vega electronic
chart display and information system (ECDIS), and a Global Maritime Distress and
Safety System (GMDSS) console, among other Coast Guard-specific equipment. On
the bridge forward console, from port to starboard, was a Furuno DRS4A radar display

and a SeaWatch station in front of the captain’s chair; another SeaWatch station and
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 8 of 22

the helm station in front of the helmsman's chair; a vessel management system (VMS)

console; and a Furuno AN/SPS-50 radar (See Figures 4 and 5).

Figure 4. Winsiow Griesser bridge, looking forward and to port. Id.

Forward >

Standard Commanding
GMOSS © een officer “es __--—— Radar
i cette
of the watch Port engineer ~~ é SS SeaWatch

Crewmember
on break

(outside) Balm

Officer of the deck _—-€ -— VMS
Training petty

officer ——aQr

———— Radar

Chart table

Figure 5. Winslow Griesser bridge arrangement and approximate location of
individuals at the time of the collision. Id.

5.12 Bridge watches aboard the Winslow Griesser during normal at-sea

operations consisted of an officer of the deck and a quartermaster of the watch. The
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 9 of 22

officer of the deck was responsible for navigating the vessel, including steering,
monitoring traffic, and using electronic navigation tools such as radar and the
elecironic chart display and information systems (ECDIS). The quartermaster of the
watch maintained the navigation plot, logs, and weather reports and also acted as a
lookout. Aboard Winslow Griesser, no person was designated solely as a lookout
with no other duties. According to one of the cutter’s qualified quartermasters of the
watch, at least one watchstander, by practice, was to keep an eye forward for
hazards at all times. In the Winslow Griesser “the lookout is mainly everybody's job.”
Although the Winslow Griesser commanding officer's Standing Orders to the Officer
of the Deck contained expectations and responsibilities for the “officer of the deck
and ail other bridge watchstanders when the cutter was not in port, they did not
specifically mention lookout duties. NTSB Report MIR-23-14, at pages15-16.

5.13 Aboard the Winslow Griesser, the bridge watch consisted of a
quartermaster of the watch and an officer of the deck. No other bridge watch member
was designated solely as a lookout with no other duties; Coast Guard practice was
that all members of the bridge watch are responsible for shared lookout duties.
However, Coast Guard directives do not explicitly provide guidance on what constitutes
a proper lookout. Locally, the Winslow Griesser commanding officer's Navigation
Standards and Standing Orders to the Officer of the Deck did not have a robust section
on the importance and criteria for what constitutes a proper lookout. Id. at page 27.

5.14 Although only two were formally on watch, five people were on the bridge
(the other personnel included the cutter's commanding officer, the training petty officer,

and a visiting port engineer). The commanding officer at one point in the minutes
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 10 of 22

leading up to the collision was engaged in either voyage planning or other
administrative tasks at the forward console. The training petty officer was training to
qualify as quartermaster of the watch and was new to the vessel. He was the last to
arrive on the bridge and was waiting to start his training with the quartermaster of the
watch. The quartermaster of the watch was at an aft console attending to
administrative duties. From his location in the aft part of the bridge, and because he
was engaged in other tasks, he was not looking out. With the quartermaster of the
watch occupied, the officer of the deck was left to keep a lookout. At the forward
console, the officer of the deck and port engineer were reviewing and discussing
the operation of various equipment at the helm station. Id. at page 27.

5.15 Standing on the bridge of the cutter, the officer of the deck’s height of eye
would have been about 19.5 feet above the vessel's waterline. From this height of eye,
the horizon on a clear day, independent of sea state, weather conditions, and structural
obstructions to visibility, would be about 5 miles away, and the cutter crewmembers
should have been able to see the entire 2.5-foot-high Deskata hull (without
considering the canopy) at this distance. At a speed of 29 knots, the cutter would
travel 5 miles in about 9 minutes. In combined seas of 6 feet, the fishing vessel may
have been only intermittently visible. The fishing vessel’s white canopy, about 9 feet
above the water, could have been confused for a whitecap in the seas. However, there
was a reasonable chance that the bridge watchstanders could have visually sighted the
Desakata if they were constantly scanning the water for contacts. Therefore, the NTSB

concluded that the Desakata should have been visible to the Winslow Griesser

10
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 11 of 22

crewmembers before the collision, but the bridge watchstanders were not
maintaining a proper lookout. Id. at page 27.

5.16 The cutters Navigation Standards instructed officers of the deck to use
the centerline SeaWatch station as an Electronic Chart Display and Information
System (ECDIS). Both radars (see Figure 4) were used for collision avoidance.
However, bridge watchstanders did not routinely use the radar overlay on the
SeaWatch. Id. at page 16. Furthermore, the cutter’s Navigation Standards,
regarding safe speed, stated: “[Officers of the deck] shall take measures to
increase situational awareness when transiting at high speeds, or if
circumstances dictate, reduce speed in accordance with COLREGS.” ld. at
page 27.

5.17 Planned speed of advance must balance a multitude of factors. The
ideal speed is one that balances fuel consumption and crew comfort while ensuring
maximum on-scene time and operational relevance. Typical transit speeds will
be between 15-20 knots. Id. at page 16. The Winslow Griesser exceeded such
speed.

5.18 The cutter’s 29-knot speed warranted extra vigilance by the bridge watch.
To increase situational awareness, the commanding officer or officer of the deck could
have halted the training taking place between the officer of the deck and the visiting
port engineer or required the on-watch quartermaster of the watch to perform
lookout duties. They also could have slowed the cutter’s speed. At a minimum,
the officer of the deck and quartermaster of the watch should have communicated to

ensure that while one was occupied with other tasks, the other was looking forward.

11
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 12 of 22

They took none of these actions. Therefore, the NTSB conciuded that “the Winslow
Griesser commanding officer and officer of the deck did not take sufficient
measures to increase their situational awareness when the cutter was transiting

at high speed.” Id. at pages 27-28.

5.19 The commanding officer, port engineer, and officer of the deck were
standing at the forward part of the bridge near the radars helm, SeaWatch, and
VMS consoles. The quartermaster of the watch was sitting at a standard
workstation near the after part of the bridge on the port side. The training petty
officer near the chart table on the middle starboard area of the bridge. A

crewmember on break was standing outside, immediately AFT of the bridge.

5.20 Both SeaWatch consoles could display either the Vega ECDIS software
for navigation or a secure internet protocol router net (SIPR) chat window to
communicate with other law enforcement units and with shoreside command and
control. The monitors could also display stand-alone automatic radar plotting aid

(ARPA) data fed from the AN/SPS-50.

5.21 The Winslow Griesser was equipped with an Automatic Identification
System (AIS), which consisted of a receiver and a very high frequency (VHF)
transponder that transmitted the vessel's identity, position, course, speed, size, and
destination. According to the cutter’s Navigation Standards, which the commanding
officer issued to promulgate unit navigation standards and watchstanding procedures

for the safe navigation of Winslow Griesser and its small boat, the Winslow Griesser's

12
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 13 of 22

AIS transmitter was normally secured when the cutter was operating outside of
restricted waters.

5.22 On the other hand, the Desakata vessel was not equipped with such
sophisticated navigational instruments to avoid or prevent collision, as opposed to
the CGC Winslow Griesser. The Desakata was equipped with a fathometer, GPS,
and VHF radios only.

5.23 The CGC Winslow Griesser failed to maintain a safe speed as required
under Rule 6, 33 CFR § 83.06, that would have enabled the cutter crew, under the
conditions, to take necessary actions to avoid collision.

5.24 Rule 6, id., states:

“Every vessel shall at all times proceed at a safe speed so that she can take
proper and effective action to avoid collision and be stopped within a distance
appropriate to the prevailing circumstances and conditions. In determining a safe speed
the following factors shall be among those taken into account:

(a) By all vessels:

(i) The state of visibility;

(it) The traffic density including concentration of fishing vessels or any
other vessels;

(iii) The maneuverability of the vessel with special reference to stopping
distance and turning ability in the prevailing conditions;

(iv) At night, the presence of background light such as from shore lights or
from-back-scatter of her own: lights;

(v) The state of wind, sea, and current, and the proximity of navigational
hazards;

(vi) The draft in relation to the available depth of water.

(b) Additionatly, by vessels with operational radar:

(i) The characteristics, efficiency and limitations of the radar equipment:
{ii) Any constraints imposed by the radar range scale in use;

(iii) The effect on radar detection of the sea state, weather, and other
sources of interference;

(iv) The possibility that small vessels, ice and other floating objects may
not be detected by radar at an adequate range;

13
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 14 of 22

(v) The number, location, and movement of vessels detected by radar;

(vi) The more exact assessment of the visibility that may be possible when
radar is used to determine the range of vessels or other objects in the
vicinity.”

5.25 The CGC Winslow Griesser commanding officer and officer of the deck
did not take sufficient measures to increase their situational awareness when the cutter
was transiting at high speed.

5.26 Regardless of which of the two vessels was the give way vessel in a
crossing situation, the cutter's failure to maintain proper lookout and to maintain safe
speed prevented critical actions by the cutter crew that ultimately could have avoided
the collision or minimized its consequences.

5.27 The public rightly expects the Coast Guard, as professional mariners,
maintain and emulate the highest standards of prudent seamanship and navigation.
They did not do so here with tragic consequences for members of the public they serve.

5.28 Coast Guard Winslow Griessers failure to keep a proper lookout and to
maintain a safe speed, in violation of the Navigation Rules was the proximate cause of
the collision with the Deskata, causing the death and serious physical injuries to the
Rosario brothers.

5.29---The aforesaid-collision which resulted in the wrongful death of Carlos Lico
Rosario Beltran, serious physical and mental injuries to Samuel Rosario Beltran and
total loss of the Desakata was not caused, or contributed to, by any fault or negligence
on the part of plaintiffs, the Desakata, or of the persons in charge of her, or of any
person for whom the plaintiffs were responsible, but was caused solely by and due

wholly to the fault and negligence of the Winsiow Griesser and the persons in charge of

her navigation who were the servants and employees of defendant.

14
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 15 of 22

5.30 As a result of the negligence of the Coast Guard personnel, co-plaintiff
Samuel Rosario Beltran, once his vessel was hit and destroyed by the Winslow
Griesser, found himself submerged in the sea waters fighting and struggling for his life.
Once he was able to regain control and emerged his head above water, he began to
look out shouting for his brother Carlos Lico. As soon as he devised him, he swam
towards him and was able to grab his brother. He noticed that Carlos Lico was bleeding
profusely, some of his internal organs were out visibly, and part of his left leg was
missing. He kept afloat holding his brother and waiving towards de Winslow Griesser to
turn around and rescue them.

5.31 Once the Winslow Griesser was able to return, the crew maneuvered the
cutter alongside and deployed liferings and a Jabob’s ladder while they prepared to
launch the small boat and a rescue swimmer. Co-plaintiff Samuel Rosario Beltran was
instructed by a Winslow Griesser's lady crewmember to let go his brother, to climb the
ladder and that they would get his brother out later. Samuel refused and told the
crewmember that he would not let his brother alone at sea.

5.32 The Winslow Griesser then turned the boat around and threw a small raft.
Samuel swam to the raft holding his brother Carlos Lico. The crew again told Samuel
that they would lift him first and he again refused and replied that they must lift his
brother first. They did that and afterwards lifted Samuel to the cutter. At that point in
time Carlos Lico was dead.

5.33 Once both plaintiffs were lifted to the Winslow Griesser, the Coast Guard
Sector San Juan diverted a 45-foot response boat and a 33-foot special purpose craft to

the collision scene. At 1440 the Winslow Griesser departed the scene en route to San

15
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 16 of 22

Juan and moored at Charlie South Pier at Sector San Juan at 1550, where emergency
medical services met the vessel. Samuel was transported to the Emergency
Department at Centro Médico in San Juan, where he was treated and released the next
day.

5.34 Samuel Rosario Beltran was diagnosed and treated for the following
conditions: (i) scalp abrasion, (ii) scalp hematoma, and (iii) lumbar transverse process
fracture.

5.35 Samuel Rosario Beltran required psychiatric treatment from APS Clinics
and was diagnosed with (i) Major depressive disorder, (ii) Disappearance and death of
family member, and (iit) Post-traumatic stress disorder, chronic.

9.36 Additionally, Samuel Rosario Beltran suffered physical pain and suffering,
mental anguish, reasonable fear of developing future physical and medical problems
loss of enjoyment of life, physical disability, impairment, inconvenience on the normal
pursuits and pleasures of life, feelings of economic insecurity caused by disability,
disfigurement, aggravation of any previous existing conditions therefrom, incurred
medical expenses in the care of treatment of injuries, suffered physical handicap. Lost
wages, income fost in the past, and his working ability and earnings capacity has been
impaired. The injuries and damages are permanent or continuing in nature, and plaintiff
will suffer the losses and impairments in the future.

5.37 As a result of the negligence of the Coast Guard personnel Carlos Lico
Rosario Beltran suffered a wrongful death. Before his tragic and traumatic demise,
Carlos Lico suffered pain and moral anguishes, which cause of action is transmittable to

his heirs.

16
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 17 of 22

5.38 Carlos Lico Rosario Beltran suffered the following physical conditions

which caused his death:

(iv).
(v).

(vi).

(vii).

(viii).

(ix).

(x).

(xi).

(xii).
(xii).

(xiv).

Posterior dislocation/separation of the thoracic and lumbar spine at
T6 and L1;

Separation and dislocation of the left hemipelvis;

Severe left lower abdominal and left anterior hip soft tissue injury
with marketed deep soft Tissue loss beyond the myofascial layer
exposing muscle, bone, and bowel. Bowel and intra-abdominal
contents herniate anteriorly and posteriorly through deep soft tissue
defects in the left lateral abdominal and pelvic wall into the adjacent
soft tissue;

Extensive intraabdominal and thoracic visceral soft tissue injury;

Marketed pneumoperitoneum with large open defect in the
anterolateral abdominai wall:

Suspected bilateral diaphragm rupture with herniation of abdominal
contents into the thoracic cavity;

Bilateral pneumothoraxes with left-ward shift of the heart;

Right SI diastasis with fracture of the right lilium. Multiple additional
pelvic fractures;

Portions of the left coccyx are not well demonstrated and are
favored to likely be fractured and displaced anteriorly and inferiorly:

Numerus sequential and segmental rib fractures with separation of
the anterior chest wall;

Comminuted right scapula and acromion fractures with posterior
dislocation of the shoulder:

Comminuted and displaced right proximal femur shaft fracture:
External rotation of the distal right femur; and

Abnormal morphology of the maxillary incisors and premolars,
possibly post-traumatic.

17
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 18 of 22

5.39 As a direct result of the negligent operation of the CGC Winslow Griesser
that caused the collision with the Desakata, Lt. Cmdr. Williamsz was first
administratively reassigned duty following the collision on August 8, 2022, and soon
thereafter, relieved of duties as the Commanding Officer due to a loss of
confidence in Williamsz's ability to effectively command the cutter.

VI. COUNT I - NEGLIGENCE AGAINST THE UNITES STATES UNDER THE
PUBLIC VESSELS ACT, §§ 3101-3113

6.1 Plaintiffs re-allege, adopt and incorporate by reference the allegations in
paragraphs 1.1 thru 5.39 as though alleged originally herein.

6.2 The Public Vessels Act ("PVA"), allows plaintiffs to bring claims for
damages caused directly by public vessels. 46 U.S.C. § 31102(a) (allowing “civil
action|s] in personam in admiralty” against the United States for “damages caused by a
public vessel of the United States”); see Uralde vy. United States, 614 F.3d 1282, 1286
(11th Cir. 2010) (“Claims seeking relief for damages caused directly by a public vessel,
or by the negligent operation thereof, fall under the PVA. The SAA covers all remaining
admiralty claims, including those simply involving public vessels.”)

6.3. The PVA was enacted after the Suits in Admiralty Act. The PVA allows an
action to be brought against the United States for damages caused by public vessels.
Under 46 U.S.C. § 31102 (a)(1) the United States has waived sovereign immunity,
allowing in personam civil actions in admiralty against the United States for damages
caused by a public vessel of the United States. The PVA has been expanded to include
damages caused by the negligence of the crew of a public vessel. Canadian Aviator v.
United States, 324 U.S. 215 (1945). Accordingly, the United States is liable under the

PVA for negligence of a public vessel and its crew in a collision resulting in injury, death

18
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 19 of 22

and harm.

6.4 In this case, the United States Coast Guard vessel, the CGC Winslow
Griesser, is a public vessel of the United States. Moreover, on August 8, 2022 the
United States Coast Guard crew negligently, and in violation of USCG Navigation Rules
5 and 6, failed to keep a proper lookout and to maintain a safe speed causing a fatal
collision with the Desakata vessel and causing the wrongful death of crewmember
Carlos Lico Rosario Beltran and severe and permanent injuries on Samuel Rosario
Beltran.

6.5 At all times material, the United States Coast Guard personnel involved in
the incident described above, including the United States Coast Guard officers, agents,
employees and the crew of the vessel CGC Winslow Griesser on August 8, 2022, were
acting within the course and scope of their employment and agency.

6.6 At all times material, the United States Coast Guard's clear negligence
and failure to adhere to basic maritime rules proximately caused the collision and,
therefore, the plaintiffs’ injuries and death.

Vil. COUNT II —- NEGLIGENCE AGAINST THE UNITED STATES UNDER THE
SUITS IN ADMIRALTY ACT, §§ 30901-30913

7.0 -Plaintiffs-re-allege;-adopt-and-incorporate-by reference the allegations in
paragraphs 7.1 thru 5.39 as though alleged originally herein.

7.1 This cause of action is brought under the Suits in Admiralty Act §§ 30901-
30913 ("SAA"). Under the SSA, the United States of America waived sovereign
immunity for admiralty claims in personam against the United Sates arising out of
incidents involving United States’ merchant vessels. In particular, the claims involve the

negligent operation of a United States Coast Guard vessel, which caused injury and

19
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 20 of 22

wrongful death to plaintiffs (private persons) upon navigable waters.

7.2 Atall times material, the United States Coast Guard personnel involved in
the incident described above, including the United States Coast Guard officers, agents,
employees and the crew of the vessel CGC Winslow Griesser on August 8, 2022, were
acting within the course and scope of their employment and agency.

7.3 Plaintiffs re-alleges, adopt and incorporates by reference the allegations in
paragraphs 5.1 thru 5.39 as though alleged originally herein.

7.4 At all times material, the United States Coast Guard's clear negligence
and failure to adhere to basic maritime rules proximately caused the collision and,
therefore, the plaintiffs’ injuries and death.

Vill. COUNT Ill - NEGLIGENCE AGAINST THE UNITED STATES UNDER THE
FEDERAL TORTS CLAIM ACT, 28 U.S.C. §§ 2671-2680

8.1 Plaintiffs re-allege, adopt and incorporate by reference the allegations in
paragraphs 1.1 thru 5.39 as though alleged originally herein.

8.2 This count is plead only to the extent that the Suits in Admiralty and the
Public Vessels Act are inapplicable. Plaintiffs, alternatively, plead this action under the
Federal Torts Claim Act, 28 U.S.C. §§ 2671-2680.

8.3-Under the FTCA, 28-U.S.C.-§§ 2671-2680, individuals who-are-injured-or
whose property is damaged by the wrongful or negligent act of a federal employee
acting within his or her official duties may file a claim with the govemment for
reimbursement for that injury or damage.

8.4 Atall times material, the United States Coast Guard personnel involved in
the incident described above, including the United States Coast Guard officers, agents,

employees and the crew of the vessel CGC Winsiow Griesser on August 8, 2022, were

20
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 21 of 22

acting within the course and scope of their employment and agency.

8.5 Plaintiffs re-allege, adopt and incorporate by reference the allegations in
paragraphs 5.1 thru 5.39 as though alleged originally herein.

8.6 At all times material, the United States Coast Guard's clear negligence
and faiiure to adhere to basic maritime rules proximately caused the collision and,
therefore, the plaintiffs’ injuries and death.

IX. DAMAGES

Co-Plaintiff Samuel Rosario Beltran

9.0 Asa result of the collision caused directly by the Coast Guard vessel, the
CGC Winslow Griesser, and/or the negligence of its personnel, or by the negligent
operation thereof, co-plaintiff Samuel Rosario Beltran suffered the following damages:

(i) Pain and suffering for physical injuries: $5,000,000.00;

(ii) | Pain and suffering for emotional, moral anguish and psychiatric conditions:
$5,000,000.00;

(iti) Total loss of vessel Desakata: $58,800.00;

(iv) Loss of income: $331,200.00

Co-Plaintiff Carlos Lico Rosario Beltran and his Estate

10.0 As a result of the collision caused directly by the Coast Guard vessel, the
CGC Winslow Griesser, and/or the negligence of its personnel, or by the negligent
operation thereof, co-plaintiff Carlos Lico Rosario Beltran and his Estate suffered the
following damages:

(i) Pain and suffering for physical injuries and wrongful death:

$10,000,000.00;

21
Case 3:24-cv-01323-ADC Document2 Filed 07/19/24 Page 22 of 22

(ii) Pain and suffering for emotional, moral and mental anguish:
$5,000,000.00;

(iii) Loss of income: $211,000.00

WHEREFORE, plaintiffs demand all damages entitled by law and demands jury
trial of all issues so triable.
RESPECTFULLY SUBMITTED.

In San Juan, Puerto Rico, this 19": day of July 2024.

JUAN B. SOTO LAW OFFICES, P.S.C.
1353 Ave. Luis Vigoreaux

PMB 270

Guaynabo, PR 00966

Tel. (787) 273-0611

s/JUAN B. SOTO BALBAS
USDC-PR-130305

Cel. (787) 370-6197
E-mail: jsotobalbas@gmail.com

siCARLOS F. LOPEZ
USDC 126514
Cel. 787-501-4150

E-Mail: charlielopez@gmail.com
cflopezlaw@qmail.com

s/FRANCISCO J. AMUNDARAY
USDC-PR-208706

Cel. 787-486-4717
E-Mail: ffamundaray@gmail.com;
fjamundaray@amundarayvillareslaw.com

22
